            Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 1 of 66




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 CONVERSANT WIRELESS LICENSING                   )
 S.A.R.L.,                                       )
                                                 )
                 Plaintiff,                      )
                                                 )       Civil No. 6:20-cv-00323
        v.                                       )
                                                 )       JURY TRIAL DEMANDED
 TESLA, INC.,                                    )
                                                 )
                 Defendant.                      )

                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Conversant Wireless Licensing S.A.R.L. (“Conversant”) files this Complaint for

patent infringement against Defendant Tesla, Inc. (“Tesla” or “Defendant”), alleging as follows:

                                       NATURE OF SUIT

       1.       This is a claim for patent infringement arising under the patent laws of the United

States, Title 35 of the United States Code.

                                              PARTIES

       2.       Plaintiff Conversant Wireless Licensing S.A.R.L. (“Conversant”) is a corporation

duly organized and existing under the laws of the Grand Duchy of Luxembourg, having a principal

place of business at 12, rue Jean Engling, L-1466, Luxembourg. Conversant has a regular and

established place of business and does business relating to the Patents-in-Suit, as defined in

section I below, in connection with its wholly-owned subsidiary, Conversant Wireless Licensing

Ltd. (“Conversant USA”), a corporation duly organized and existing under the laws of the State of

Texas, having a principal place of business at 5630 Granite Parkway #100-247, Suite 247, Plano,

TX 75024.      All pertinent documents and discovery relevant to this matter either reside at




                                                                                      Page 1 of 66
            Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 2 of 66




Conversant USA’s local address or will be produced at that address. Conversant is the owner of

record of the Patents-in-Suit in this action.

       3.       Defendant Tesla, Inc. (“Tesla” or “Defendant”) is a corporation organized under

the laws of the State of Delaware, having a principal place of business at 3500 Deer Creek Road,

Palo Alto, CA 94304. Tesla may do business with the fictitious name Tesla Motors, Inc. Tesla

can be served with process through its registered agent in the State of Texas, CT Corporation, 1999

Bryan St., Suite 900, Dallas, Texas 75201-3136.

                                 JURISDICTION AND VENUE

       4.       This action arises under the patent laws of the United States, 35 U.S.C. § 101, et

seq. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       5.       Tesla is subject to personal jurisdiction in this Court. This Court has personal

jurisdiction over Tesla because Tesla has engaged in continuous, systematic, and substantial

activities within this State, including substantial marketing and sales of products within this State

and this District. Furthermore, upon information and belief, this Court has personal jurisdiction

over Tesla because Tesla has committed acts giving rise to Conversant’s claims for patent

infringement within and directed to this District.

       6.       Upon information and belief, Tesla has conducted and does conduct substantial

business in this forum, directly and/or through subsidiaries, agents, representatives, or

intermediaries, such substantial business including but not limited to: (i) at least a portion of the

direct and indirect acts of infringement alleged herein; (ii) purposefully and voluntarily placing

one or more infringing products into the stream of commerce with the expectation that they will

be purchased by consumers in this forum; or (iii) regularly doing or soliciting business, engaging

in other persistent courses of conduct, or deriving substantial revenue from goods and services




                                                                                       Page 2 of 66
            Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 3 of 66




provided to individuals in Texas and in this judicial district. Thus, Tesla is subject to this Court’s

specific and general personal jurisdiction pursuant to due process and the Texas Long Arm Statute.

       7.       Upon information and belief, Tesla has committed acts of infringement in this

District and has one or more regular and established places of business within this District under

28 U.S.C. § 1400(b). Thus, venue is proper in this District under 28 U.S.C. § 1400(b).

       8.       Tesla maintains a permanent physical presence within this District. For example,

it maintains galleries at (1) 12845 Research Boulevard, Austin, Texas 78759; (2) 11600 Century

Oaks Terrace, Austin, Texas 78758; and (3) 23011 IH-10 West, San Antonio, Texas 78257. Tesla

also maintains service centers in this District, including at 12845 Research Boulevard, Austin,

Texas 78759; 23011 IH-10 West, San Antonio, Texas 78257; and 28 Walter Jones, Suite C, El

Paso, Texas. Tesla conducts business from at least these locations. Tesla employs employees who

work at Tesla’s locations in this District.

       9.       In addition, Tesla maintains charging stations throughout this District. Tesla

features commercial signage at each Supercharger station identifying the location as a regular and

established place of Tesla’s business.        Moreover, Superchargers are monitored closely and

regularly serviced by Tesla Service Technicians. Tesla’s Supercharging stations in this District

include at least at the following locations: (1) Austin, TX – Research Boulevard Supercharger,

9607 Research Boulevard, Austin, TX 78759; (2) Austin, TX Supercharger, 6406 N. Interstate 35

Frontage Road, Austin, TX 78752; (3) El Paso Supercharger, 6401 South Desert Boulevard, El

Paso, Texas 79932; (4) Fort Stockton, TX Supercharger, 2571 North Front Street, Fort Stockton,

Texas 79735; (5) Giddings, TX Supercharger, 3025 East Austin Street, Giddings, Texas 78942;

(6) Junction Supercharger, 2415 N Main Street, Junction, Texas 76849; (7) Leon Springs, TX

Supercharger, 24165 I-10 #300, San Antonio, Texas 78357; (8) Midland Supercharger, 3001




                                                                                        Page 3 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 4 of 66




Antelope Trail, Midland, Texas 79706; (9) Pecos, TX Supercharger, 100 East Pinehurst Street,

Pecos, Texas 79772; (10) San Antonio, TX Supercharger, 11745 I-10, San Antonio, Texas 78230;

(11) San Marcos, TX Supercharger, 3939 Interstate 35, San Marcos, Texas 78666; (12) Van Horn

Supercharger, 1921 Frontage Rd, Van Horn, Texas 79855; and (13) Waco Supercharger, 701

Interstate 35, Bellmead, Texas 76705. Upon information and belief, Tesla also has eight (8)

Supercharging stations “coming soon” to this District.

       10.     Tesla’s locations in this District, including at least those identified in paragraphs 8

and 9 above, are regular and established places of business under 28 U.S.C. § 1391, 28 U.S.C.

§ 1400(b), and In re Cray, Inc., 871 F.3d 1355, 1360 (Fed. Cir. 2017).

               a.      Tesla’s locations in this District, including at least those identified in

       paragraphs 8 and 9 above, are physical places in this District. Each gallery and service

       center comprises one or more buildings set apart for the purpose of offering for sale, selling,

       showcasing, and/or servicing infringing products. Each Supercharging station comprises

       a physical area set apart for the purpose of charging infringing products. Indeed, Tesla

       itself advertises its physical locations in this District as places of its business and it features

       commercial signage at each location.

               b.      Tesla’s locations in this District, including at least those identified in

       paragraphs 8 and 9 above, are regular and established. Tesla features commercial signage

       at each location identifying the location as a regular and established place of Tesla’s

       business.

               c.      Tesla’s locations in this District, including at least those identified in

       paragraphs 8 and 9 above, are places of business of Tesla. Tesla offers its own products

       and services for sale at its locations.




                                                                                            Page 4 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 5 of 66




               d.     Tesla’s locations in this District, including at least those identified in

       paragraphs 8 and 9 above, are physical, geographical locations in this District from which

       Tesla carries out its business.

               e.     Tesla employees work at Tesla’s locations, including at least those

       identified in paragraphs 8 and 9 above.       Upon information and belief, these Tesla

       employees are regularly and physically present at Tesla’s locations, including at least those

       identified in paragraphs 8 and 9 above, during business hours and they are conducting

       Tesla’s business while working there.

       11.     Further, upon information and belief, Tesla trains future employees (specifically,

electric vehicle technicians) in this District at Tesla’s START Training Program housed at Texas

State Technical College in Waco, Texas. Tesla provides the instructor, training equipment,

vehicles, tools, and curriculum for the program. Students are employed by Tesla as hourly interns,

and following completion of the program they are placed in a Tesla Service Center in North

America.

                                  FACTUAL ALLEGATIONS

I.     PATENTS-IN-SUIT

       12.     United States Patent No. 7,643,456 (“the ’456 Patent”) is entitled “Transfer of

Packet Data to Wireless Terminal.” The ’456 Patent duly and legally issued on January 5, 2010,

from U.S. Patent Application No. 10/957,777, filed on October 4, 2004. The ’456 Patent is a

continuation of application No. PCT/FI03/00263, filed on April 8, 2003. The ’456 Patent is

entitled to the benefit of the April 8, 2003 filing date of application No. PCT/FI03/00263. The

’456 Patent names Jarkko Jouppi and Janne Rinne as inventors. Conversant is the current owner




                                                                                       Page 5 of 66
          Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 6 of 66




of all rights, title, and interest in and to the ’456 Patent. A true and correct copy of the ’456 Patent

is attached hereto as Exhibit A and is incorporated by reference herein.

       13.     United States Patent No. 9,930,697 (“the ’697 Patent”) is entitled “Random Access

Channel Response Handling with Aggegrated [sic] Component Carriers.” The ’697 Patent duly

and legally issued on March 27, 2018 from U.S. Patent Application No. 14/976,154, filed on

December 21, 2015. The ’697 Patent is a continuation of application No. 13/248,579, filed on

September 29, 2011, now United States Patent No. 9,253,797. United States Patent No. 9,253,797

is a division of application No. 12/384,950, filed on April 10, 2009, now United States Patent

No. 8,077,670. The ’697 Patent is entitled to the benefit of the April 10, 2009 filing date of United

States Patent No. 8,077,670. The ’697 Patent names Jianke Fan, Juha S. Korhonen, Mikko J.

Rinne, and Esa M. Malkamaki as inventors. Conversant is the current owner of all rights, title,

and interest in and to the ’697 Patent. A true and correct copy of the ’697 Patent is attached hereto

as Exhibit B and is incorporated by reference herein.

       14.     Collectively, the ’456 Patent and the ’697 Patent are referred to herein as the

“Patents-in-Suit.”

II.    BACKGROUND

       15.     In 2011, Conversant acquired a portfolio of close to 2,000 patents and patent

applications previously owned by Nokia Corporation (“Nokia”), obtaining all right, title, and

interest in, to and under the patents and patent applications in the portfolio, including without

limitation the right to sue for past, present, or future infringements of the patents and patent

applications acquired. By reason of the aforesaid, Conversant has, since 2011, been the owner of

the Patents-in-Suit and the right to enforce them. Before Conversant became the owner of the




                                                                                          Page 6 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 7 of 66




Patents-in-Suit, the Patents-in-Suit were originally invented by agents or employees of, procured

by, or assigned to Nokia.

       16.     Nokia is and has been a member of the European Telecommunications Standards

Institute (“ETSI”), a non-profit Standard Setting Organization headquartered in France.

Conversant and/or Nokia have made declarations in respect of the Patents-in-Suit to ETSI, one of

the organizational partners of the Third Generation Partnership Project (“3GPP”) that organizes

and maintains the development of telecommunications standards applicable to mobile

communications products, devices, and services. Telecommunications standards applicable to

wireless mobile communications devices include second generation technologies such as Global

System for Mobile (“GSM”) and GSM Packet Radio Service (“GPRS”), third generation

technologies such as Universal Mobile Telecommunications System (“UMTS”) and High Speed

Packet Access (“HSPA”), and fourth generation technologies such as Long-Term Evolution

(“LTE”).     With respect to the Patents-in-Suit, the declarations and affirmations made by

Conversant and/or Nokia include a provision to the effect that the declarant is prepared to grant

irrevocable licenses to the Patents-in-Suit on fair, reasonable, and non-discriminatory (“FRAND”)

terms. Conversant has specifically agreed to grant a license to the Patents-in-Suit under FRAND

terms to willing licensees who negotiate in good faith. For example, on July 22, 2014, Conversant

made a declaration to ETSI to the effect that it is willing and prepared to grant irrevocable licenses

on terms and conditions that are FRAND with respect to the patents that it owns that cover

functionality that has been implemented in mobile communications devices that are in compliance




                                                                                        Page 7 of 66
             Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 8 of 66




with the requirements and technical specifications of the mobile communications standards that

are promulgated by and maintained by 3GPP.

III.    CONVERSANT’S ATTEMPTS TO LICENSE TESLA

        17.      On or about December 18, 2018, Conversant sent a letter and FRAND licensing

offer to Tesla. The letter stated, “Conversant Wireless owns an extensive patent portfolio related

to mobile communications networks, which includes hundreds of patents and patent applications

that have been declared essential to 2G, 3G and 4G mobile standards.” Conversant then offered a

FRAND license to its applicable standard-essential patent (“SEP”) portfolio:               “Conversant

Wireless is offering a FRAND license to its SEP portfolio to manufacturers of vehicles with

cellular functionality, including Tesla.” As part of its FRAND offer, Conversant provided Tesla

with access to a Share File site which included representative claim charts for Conversant’s patent

portfolio.

        18.      In addition, Conversant is a member of the Avanci patent pool. As such, upon

information and belief, Avanci also offered Tesla a FRAND license to Conversant’s SEP patent

portfolio, among other patents.

        19.      As of December 18, 2018, the Shared Site provided by Conversant to Tesla

included over 20 claim charts for Conversant’s Standard Essential Patents issued in the United

States and foreign countries. At least by having access to this Shared Site, Tesla had knowledge

of each of the Patents-in-Suit and its infringement of such patents, prior to the filing of this lawsuit.

        20.      After Tesla ignored Conversant’s December 18, 2018 FRAND license offer, on

February 26, 2019, Conversant again contacted Tesla to follow up on its previous offer, stating in




                                                                                           Page 8 of 66
          Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 9 of 66




part, “As you are well aware, FRAND licensing of Standard Essential Patents (SEPs) requires

active participation of both sides in the negotiations.”

       21.     Tesla finally responded on April 4, 2019 but failed to provide any material response

to Conversant’s FRAND offer and related correspondence.

       22.     After no further communication from Tesla, on or about February 26, 2020,

Conversant filed patent infringement complaints against Tesla, Inc. and its German subsidiary

Tesla Germany GmbH before the Manheim Regional Court in Germany.

       23.     On March 16, 2020, Conversant again contacted Tesla, informing it of the German

patent infringement complaints, stating “Tesla’s failure to provide a material response or any

further communication raises doubts as to its actual willingness to take a license. We also

understand that Tesla has not taken the parallel pool offer from Avanci, which presents an

alternative opportunity to license our portfolio. . . . We remain open and willing to discuss our

bilateral license offer and hope that a meeting can be arranged promptly.”

       24.     On March 26, 2020, Tesla responded by requesting a copy of the German patent

infringement complaints and indicating that “Tesla is and remains a willing licensee of the

Conversant portfolio for applicable standard-essential-patents (“SEP”),” and suggested that Tesla

would formulate a counteroffer for Conversant’s portfolio for applicable SEPs.

       25.     On April 6, 2020, Conversant responded by again offering a FRAND license to its

SEP portfolio: “I can confirm that our applicable SEPs can be licensed either through the Avanci

pool or by way of our bilateral FRAND license offer presented to you in December 2019. As we




                                                                                      Page 9 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 10 of 66




understand that you have declined our bilateral FRAND offer, we now look forward to your

mentioned counter offer.”

          26.   To date, Tesla has not taken a license to Conversant’s patent portfolio, or any of

the Patents-in-Suit.

IV.       THE TESLA STANDARD-COMPLIANT PRODUCTS

          27.   As further discussed below, Tesla has directly and indirectly infringed and

continues to directly and indirectly infringe each of the Patents-in-Suit by engaging in acts

constituting infringement under 35 U.S.C. § 271(a), (b), and/or (c), including without limitation

by one or more of making, using, selling and offering to sell, in this District and elsewhere in the

United States, and importing into this District and elsewhere in the United States Tesla’s connected

vehicle products (the “Tesla Standard-Compliant Products”).

          28.   Tesla is doing business in the United States, and, more particularly, in the this

District by making, using, selling, importing, and/or offering for sale the Tesla

Standard-Compliant Products, including without limitation Tesla’s Model S, Model 3, Model X,

Model Y, Cybertruck, and Roadster that infringe one or more of the patent claims involved in this

action.

          29.   Upon information and belief, and as widely reported, the Tesla Standard-Compliant

Products, including the above-referenced connected vehicles, are compliant with at least 3G and/or

4G/LTE cellular network standards . See, e.g., Tesla unveils world’s first mass-produced, highway

capable EV, Tesla Investors, Mar. 26, 2009, https://ir.tesla.com/news-releases/news-release-

details/tesla-unveils-worlds-first-mass-produced-highway-capable-ev (describing “in-car 3G

connectivity”); Roger Cheng, Tesla taps AT&T to bring cellular connection to its cars, CNET,

Oct. 17, 2013, https://www.cnet.com/news/tesla-taps-at-t-to-bring-cellular-connection-to-its-cars

(describing 3G and HSPA+ capability); First LTE-enabled Tesla Model S delivered, Electrek, June


                                                                                     Page 10 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 11 of 66




5, 2015, https://electrek.co/2015/06/05/first-lte-enabled-model-s-delivered (reporting new Model

S delivered with working 4G/LTE capability); Tesla to Acquire SolarCity: Presentation to Proxy

Advisory Firms, Form S-4 File No.:333-213390, Oct. 25, 2016, at 16 (stating vehicle features

include 4G/LTE connectivity); Russ Mitchell, Tesla Model 3 has some unusual features, including

an         instrument-free        dash,       Seattle       Times,           Aug.          5,        2017,

https://www.seattletimes.com/business/tesla-model-3-has-some-unusual-features-including-an-

instrument-free-dash (reporting Model 3 is 4G/LTE capable); Ryan Whittwam, Tesla will begin

charging        $10   per    month      for   “Premium”         LTE   features,     Dec.        9,   2019,

https://www.extremetech.com/extreme/303159-tesla-will-begin-charging-10-per-month-for-

premium-lte-features (reporting that all Tesla vehicles are 4G/LTE capable) (collectively attached

hereto as Exhibit D1).

         30.      Tesla’s Support webpage confirms that the Tesla Standard-Compliant Products,

including Tesla’s Model 3, Model S, Model X, and Model Y connected vehicles, come with

cellular       connection    capabilities.      See,    e.g.,     Support:     Connectivity,         Tesla,

https://www.tesla.com/support/connectivity (attached hereto as Exhibit E). At a minimum, Tesla

offers its connectively package with 3G and 4G/LTE cellular free for the first year (for orders of

Model S, Model X, Model Y, and Model 3 with Premium Interior) and 30 days (for orders of

Model 3 Standard Range and Standard Range Plus), and charges $9.99 per month thereafter. See

id.

         31.      Further, the Owner’s Manuals for the Tesla Standard-Compliant Products,

including Tesla’s Model 3, Model S, Model X, and Model Y connected vehicles, confirm that the

Tesla Standard-Compliant Products are compliant with at least 3G and/or 4G/LTE cellular network


1
    Exhibit C not used.



                                                                                           Page 11 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 12 of 66




standards.   For example, the Owner’s Manual for the Model S describes how the internet

connection of the Model S can be switched from a cellular connection (“usually LTE or 3G”) to a

Wi-Fi connection. See, e.g., Model S Owner’s Manual, v. 2020.4 North America, at 156 (attached

hereto as Exhibit F).

                   COUNT 1—INFRINGEMENT OF THE ’456 PATENT

       32.     Conversant incorporates by reference the allegations set forth in Paragraphs 1–31

of this Complaint as though fully set forth herein.

       33.     In violation of 35 U.S.C. § 271(a), Tesla is and has been directly infringing one or

more of the ’456 Patent’s claims, including at least Claim 7, by making, using, offering to sell,

and/or selling in the United States, and/or importing into the United States, without authority,

products that support 3G and/or 4G/LTE connectivity, including without limitation the Tesla

Standard-Compliant Products as defined above. Each of the Tesla Standard-Compliant Products

comprises hardware and software components that together practice every element of one or more

claims of the ’456 Patent, including at least Claim 7. These components include those hardware

and software components that enable the set of wireless cellular communications functionalities

known as 3G and/or 4G/LTE and implement 3G and/or 4G/LTE in compliance with the

requirements of the technical standards applicable to mobile communications, including the

technical standards promulgated by 3GPP and various subsequent releases and versions thereof.

These components enable the Tesla Standard-Compliant Products to perform 3G and/or 4G/LTE

communications functionality.

       34.     It is necessary to practice one or more of the claims of the ’456 Patent to comply

with the requirements of certain standards applicable to mobile communications. For example, it




                                                                                    Page 12 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 13 of 66




is necessary to practice at least Claim 7 from the ’456 Patent to comply with certain 3G and/or

4G/LTE standards.

       35.     The Tesla Standard-Compliant Products comply with the applicable standards

covered by the claims of the ’456 Patent.

       36.     The Tesla Standard Compliant Products comprise at least the wireless terminal of

Claim 7 of the ’456 Patent.

       37.     The applicable standards covered by the claims of the ’456 Patent describe, at least,

the wireless terminal of Claim 7 of the ’456 Patent.

       38.     By way of example, Claim 7 of the ’456 Patent requires “the wireless terminal

being configured to transmit a configuration signal to a network node in a mobile system for

activating or modifying a packet data protocol context.”

       39.     The applicable standards covered by the claims of the ’456 Patent, including but

not limited to 3GPP TS 24.301 V11.5.0 (2012-12), describe the wireless terminal being configured

to transmit a configuration signal to a network node in a mobile system for activating or modifying

a packet data protocol context:

       3.2     Abbreviations

       ....

       EPS     Evolved Packet System

       ....




                                                                                     Page 13 of 66
        Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 14 of 66




       6.5.3           UE requested bearer resource allocation procedure

       6.5.3.1         General

       The purpose of the UE requested bearer resource allocation procedure is for a UE
       to request an allocation of bearer resources for a traffic flow aggregate. The UE
       requests a specific QoS demand (QCI) and optionally sends a GBR requirement for
       a new traffic flow aggregate. If accepted by the network, this procedure invokes a
       dedicated EPS bearer context activation procedure (see subclause 6.4.2) or an EPS
       bearer context modification procedure (see subclause 6.4.3).

       ....

       6.5.3.2         UE requested bearer resource allocation procedure initiation

       In order to request the allocation of bearer resources for one traffic flow aggregate,
       the UE shall send a BEARER RESOURCE ALLOCATION REQUEST message
       to the MME, start timer T3480 and enter the state PROCEDURE TRANSACTION
       PENDING (see example in figure 6.5.3.2.1).

       The UE shall include the EPS bearer identity of the default EPS bearer associated
       with the requested bearer resource in the Linked EPS bearer identity IE. The UE
       shall set the TFT operation code in the Traffic flow aggregate IE to "Create new
       TFT". In the Required traffic flow QoS IE, the UE shall indicate a QCI and, if the
       UE also includes a GBR, the additional GBR required for the traffic flow aggregate.




              Figure 6.5.3.2.1: UE requested bearer resource allocation procedure

(3GPP TS 24.301 V11.5.0 (2012-12), at 24, 189–90).




                                                                                      Page 14 of 66
        Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 15 of 66




       40.       In addition, the applicable standards covered by the claims of the ’456 Patent,

including but not limited to 3GPP TS 24.008 V11.8.0 (2013-09), describe the wireless terminal

being configured to transmit a configuration signal to a network node in a mobile system for

activating or modifying a packet data protocol context:

       2.1.2     Vocabulary

       ....

             -   A default PDP context is a PDP context activated by the PDP context
                 activation procedure that establishes a PDN connection. The default PDP
                 context remains active during the lifetime of the PDN connection.

       ....

       6.1.3.2          Secondary PDP Context Activation Procedure

       The purpose of this procedure is to establish an additional PDP context between the
       MS and the network for a specific Traffic Flow Template (TFT) and QoS profile
       on a specific NSAPI, when one or more PDP contexts has/have already been
       established for the particular PDP address and APN. The MS shall include a request
       for a TFT if a PDP context without a TFT is presently active for the particular PDP
       address, or the BCM is 'MS/NW'. Depending on the selected Bearer Control Mode
       being 'MS only' or 'MS/NW', the secondary PDP context activation procedure may
       either be initiated by the MS or by either the MS or the network, respectively. If
       there is a PDN connection for emergency bearer services established, the MS shall
       not initiate a secondary PDP context activation procedure for this connection unless
       triggered by the network.

(3GPP TS 24.008 V11.8.0 (2013-09), at 38, 40, 287).

       41.       In addition, the applicable standards covered by the claims of the ’456 Patent,

including but not limited to 3GPP TS 23.060 V11.8.0 (2013-12), describe the wireless terminal




                                                                                    Page 15 of 66
        Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 16 of 66




being configured to transmit a configuration signal to a network node in a mobile system for

activating or modifying a packet data protocol context:

       9.2.1A Principles for mapping between PDP Contexts and EPS Bearers

       The following text describes the general principles used by an SGSN using S4 when
       mapping between PDP Contexts and EPS Bearers.

       The MS is using PDP Context Activation, Modification and Deactivation functions,
       and PDP Contexts are therefore used between MS and SGSN. An SGSN using
       Gn/Gp only will use these procedures towards GGSNs as well. An SGSN using S4
       will for a specific PDP Context towards an MS map these procedures into
       equivalent procedures using EPS Bearer towards S GW and P GW. EPS Bearer
       procedures will not be used between MS and SGSN.

       The following principles are to be used:

             - 1:1 mapping between one PDP context and one EPS Bearer;

(3GPP TS 23.060 V11.8.0 (2013-12), at 206.)

       42.      In addition, the applicable standards covered by the claims of the ’456 Patent,

including but not limited to 3GPP TS 36.300 V11.4.0 (2012-12), describe the wireless terminal




                                                                                 Page 16 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 17 of 66




being configured to transmit a configuration signal to a network node in a mobile system for

activating or modifying a packet data protocol context:

       13.1    Bearer service architecture

       The EPS bearer service layered architecture is depicted in Figure 13.1-1 below,
       where:

       ....




                       Figure 13.1-1: EPS Bearer Service Architecture

(3GPP TS 36.300 V11.4.0 (2012-12), at 98–99.)

       43.     By way of example, Claim 7 of the ’456 Patent requires “a packet data protocol

context for linking a packet radio network to an external system.”




                                                                               Page 17 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 18 of 66




       44.       The applicable standards covered by the claims of the ’456 Patent, including but

not limited to 3GPP TS 24.301 V11.5.0 (2012-12), describe a packet data protocol context for

linking a packet radio network to an external system:

       6         Elementary procedures for EPS session management

       6.1       Overview

       6.1.1 General

       This clause describes the procedures used for EPS session management (ESM) at
       the radio interface (reference point "LTE-Uu").

       ....

       The ESM comprises procedures for:

             -   the activation, deactivation and modification of EPS bearer contexts; and

             -   the request for resources (IP connectivity to a PDN or dedicated bearer
                 resources) by the UE.

       Each EPS bearer context represents an EPS bearer between the UE and a PDN. EPS
       bearer contexts can remain activated even if the radio and S1 bearers constituting
       the corresponding EPS bearers between UE and MME are temporarily released.

       An EPS bearer context can be either a default bearer context or a dedicated bearer
       context.

       A default EPS bearer context is activated when the UE requests a connection to a
       PDN.

       ....

       A dedicated EPS bearer context is always linked to a default EPS bearer context
       and represents additional EPS bearer resources between the UE and the PDN. The
       network can initiate the activation of dedicated EPS bearer contexts together with
       the activation of the default EPS bearer context or at any time later, as long as the
       default EPS bearer context remains activated.

(3GPP TS 24.301 V11.5.0 (2012-12), at 157).




                                                                                     Page 18 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 19 of 66




       45.     In addition, the applicable standards covered by the claims of the ’456 Patent,

including but not limited to 3GPP TS 36.300 V11.4.0 (2012-12), describe a packet data protocol

context for linking a packet radio network to an external system:

       13.1    Bearer service architecture

       The EPS bearer service layered architecture is depicted in Figure 13.1-1 below,
       where:

       ....




                       Figure 13.1-1: EPS Bearer Service Architecture

(3GPP TS 36.300 V11.4.0 (2012-12), at 98–99.)

       46.     In addition, the applicable standards covered by the claims of the ’456 Patent,

including but not limited to 3GPP TS 23.401 V11.4.0 (2012-12), describe a packet data protocol

context for linking a packet radio network to an external system:

       3.2     Abbreviations

       ....

       EPS     Evolved Packet System

       ....



                                                                                Page 19 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 20 of 66




       4.2       Architecture reference model

       4.2.1     Non-roaming architecture

                          UTRAN

                                       SGSN
                           GERAN                    HSS
                                         S3
                          S1-MME                      S6a
                                       MME
                                                                           PCRF
                                                               S12                       Rx
                                              S11                     Gx
                                                      S4
             LTE-Uu                    S10
                                                     Serving    S5    PDN      SGi       Operator's IP
        UE            E-UTRAN                        Gateway         Gateway                Services
                                S1-U                                                 (e.g. IMS, PSS etc.)


                      Figure 4.2.1-1: Non-roaming architecture for 3GPP accesses

       ....

       4.7       Overall QoS concept

       4.7.1 PDN connectivity service

       The Evolved Packet System provides IP connectivity between a UE and a PLMN
       external packet data network. This is referred to as PDN Connectivity Service.

       The PDN Connectivity Service supports the transport of traffic flow aggregate(s),
       consisting of one or more Service Data Flows (SDFs).

(3GPP TS 23.401 V11.4.0 (2012-12), at 14, 16, 61.)

       47.       By way of example, Claim 7 of the ’456 Patent requires the limitation “wherein the

wireless terminal is configured to check if a filter used for mapping data flows at the network node

is determined by a separate network element.”




                                                                                                    Page 20 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 21 of 66




       48.       The applicable standards covered by the claims of the ’456 Patent, including but

not limited to 3GPP TS 24.008 V11.8.0 (2013-09), describe that the wireless terminal is configured

to check if a filter used for mapping data flows at the network node is determined by a separate

network element:

       10.5.6.12        Traffic Flow Template

       The purpose of the traffic flow template information element is to specify the TFT
       parameters and operations for a PDP context. In addition, this information element
       may be used to transfer extra parameters to the network (e.g. the Authorization
       Token; see 3GPP TS 24.229 [95]). The TFT may contain packet filters for the
       downlink direction, the uplink direction or packet filters that apply for both
       directions. The packet filters determine the traffic mapping to PDP contexts. The
       downlink packet filters shall be applied by the network and the uplink packet filters
       shall be applied by the MS. A packet filter that applies for both directions shall be
       applied by the network as a downlink packet filter and by the MS as an uplink filter.

(3GPP TS 24.008 V11.8.0 (2013-09), at 576.)

       49.       In addition, the applicable standards covered by the claims of the ’456 Patent,

including but not limited to 3GPP TS 36.300 V11.4.0 (2012-12), describe that the wireless terminal

is configured to check if a filter used for mapping data flows at the network node is determined by

a separate network element:

       4.1       Functional Split

       ....

       The PDN Gateway (P-GW) hosts the following functions (see 3GPP TS 23.401
       [17]):

             -   Per-user based packet filtering (by e.g. deep packet inspection);

       ....




                                                                                     Page 21 of 66
 Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 22 of 66




         Figure 4.1-1: Functional Split between E-UTRAN and EPC

....

13.1   Bearer service architecture

The EPS bearer service layered architecture is depicted in Figure 13.1-1 below,
where:

   -   An UL TFT in the UE binds an SDF to an EPS bearer in the uplink direction.
       Multiple SDFs can be multiplexed onto the same EPS bearer by including
       multiple uplink packet filters in the UL TFT.

   -   A DL TFT in the PDN GW binds an SDF to an EPS bearer in the downlink
       direction. Multiple SDFs can be multiplexed onto the same EPS bearer by
       including multiple downlink packet filters in the DL TFT.

....

   -   A PDN GW stores a mapping between a downlink packet filter and an
       S5/S8a bearer to create the binding between an SDF and an S5/S8a bearer
       in the downlink.

....




                                                                          Page 22 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 23 of 66




                            Figure 13.1-1: EPS Bearer Service Architecture

(3GPP TS 36.300 V11.4.0 (2012-12), at 20–22, 98–99.)

       50.       In addition, the applicable standards covered by the claims of the ’456 Patent,

including but not limited to 3GPP TS 23.401 V11.4.0 (2012-12), describe that the wireless terminal

is configured to check if a filter used for mapping data flows at the network node is determined by

a separate network element:

       4.2       Architecture reference model

       4.2.1     Non-roaming architecture

                          UTRAN

                                       SGSN
                           GERAN                    HSS
                                         S3
                          S1-MME                      S6a
                                       MME
                                                                           PCRF
                                                               S12                       Rx
                                              S11                     Gx
                                                      S4
             LTE-Uu                    S10
                                                     Serving    S5    PDN      SGi       Operator's IP
        UE            E-UTRAN                        Gateway         Gateway                Services
                                S1-U                                                 (e.g. IMS, PSS etc.)


                      Figure 4.2.1-1: Non-roaming architecture for 3GPP accesses

       ....



                                                                                                    Page 23 of 66
 Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 24 of 66




4.4       Network elements

....

4.4.3.3          PDN GW

The PDN GW is the gateway which terminates the SGi interface towards the PDN.

....

Additionally the PDN GW includes the following functions for the GTP-based
S5/S8:

      -   UL and DL bearer binding as defined in TS 23.203 [6];

      -   UL bearer binding verification as defined in TS 23.203 [6];

....

4.4.7 PCRF

4.4.7.1          General

PCRF is the policy and charging control element. PCRF functions are described in
more detail in TS 23.203 [6].

....

4.7.6     Bearer Control Mode in EPC

The Bearer Control Mode (BCM) for E-UTRAN access is always UE/NW. Hence,
explicit signalling between the UE and the network to determine BCM for E-
UTRAN access does not occur.

....




                                                                         Page 24 of 66
        Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 25 of 66




       5.4.5    UE requested bearer resource modification

       ....

       1.      ....

            The TAD indicates one requested operation (add, modify, or delete packet
            filters). If traffic flows are added, the TAD includes the packet filter(s)
            (consisting of the packet filter information including packet filter precedence,
            but without a packet filter identifier) to be added. The UE also sends the QCI
            requested and GBR, if applicable, for the added traffic flows. If the UE wants
            to link the new packet filter(s) to an existing packet filter to enable the usage of
            existing bearer resources for the new packet filter(s), the UE shall provide an
            existing packet filter identifier together with the new packet filter(s).

       ....

       5.      ....

            The PDN GW inserts, modifies or removes packet filter(s) corresponding to the
            TAD into the TFT for the EPS bearer. When a new packet filter is inserted into
            a TFT, the PDN GW assigns a new packet filter identifier which is unique
            within the TFT. The PDN GW maintains the relation between the SDF filter
            identifier in the PCC rule received from the PCRF and the packet filter identifier
            of the TFT of this EPS bearer. If all of the packet filter(s) for a dedicated EPS
            bearer have been removed from the TFT, the PDN GW performs the PDN GW
            Initiated Bearer Deactivation Procedure.

(3GPP TS 23.401 V11.4.0 (2012-12), at 16, 52, 54–55, 67, 154–56.)




                                                                                         Page 25 of 66
        Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 26 of 66




       51.       In addition, the applicable standards covered by the claims of the ’456 Patent,

including but not limited to 3GPP TS 23.203 V11.11.0 (2013-09), describe that the wireless

terminal is configured to check if a filter used for mapping data flows at the network node is

determined by a separate network element:

       6.2       Functional entities

       6.2.1 Policy Control and Charging Rules Function (PCRF)

       6.2.1.0          General

       The PCRF encompasses policy control decision and flow based charging control
       functionalities.

       The PCRF provides network control regarding the service data flow detection,
       gating, QoS and flow based charging (except credit management) towards the
       PCEF.

       ....

       The PCRF shall decide how certain service data flow/detected application traffic
       shall be treated in the PCEF and in the TDF, if applicable, and ensure that the PCEF
       user plane traffic mapping and treatment is in accordance with the user's
       subscription profile.

       ....

       6.2.2 Policy and Charging Enforcement Function (PCEF)

       6.2.2.1          General

       The PCEF encompasses service data flow detection, policy enforcement and flow
       based charging functionalities.

       This functional entity is located at the Gateway (e.g. GGSN in the GPRS case, and
       PDG in the WLAN case). It provides service data flow detection, user plane traffic
       handling, triggering control plane session management (where the IP CAN
       permits), QoS handling, and service data flow measurement as well as online and
       offline charging interactions.

       ....

       The PCEF is enforcing the Policy Control as indicated by the PCRF in two different
       ways:



                                                                                    Page 26 of 66
 Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 27 of 66




      -   Gate enforcement. The PCEF shall allow a service data flow, which is
          subject to policy control, to pass through the PCEF if and only if the
          corresponding gate is open;

      -   QoS enforcement:

....

6.2.2.2          Service data flow detection

....

Service data flow filters identifying the service data flow may:

      -   be a pattern for matching the IP 5 tuple (source IP address or IPv6 network
          prefix, destination IP address or IPv6 network prefix, source port number,
          destination port number, protocol ID of the protocol above IP). In the
          pattern:

....

6.2.3     Application Function (AF)

The Application Function (AF) is an element offering applications that require
dynamic policy and/or charging control over the IP CAN user plane behaviour. The
AF shall communicate with the PCRF to transfer dynamic session information,
required for PCRF decisions as well as to receive IP CAN specific information and
notifications about IP CAN bearer level events. One example of an AF is the P
CSCF of the IM CN subsystem.

....

6.7       IP flow mobility Routing rule

6.7.1            General

....

The Packet filter may comprise any number of packet filters, containing
information for matching service data flows. The format of the packet filters is the
same as the service data flow filter described in clause 6.2.2.2. A default packet
filter can be specified by using wild card filter.

....




                                                                              Page 27 of 66
 Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 28 of 66




A.1    GPRS

A.1.0 General

The GPRS IP CAN employs, for an IP CAN session, the concept of PDP contexts
in order to provide an information transmission path of defined capacity (QoS). For
GPRS, the IP CAN bearer is the PDP context.


                                                                PCRF
                                                                      Gx

         UE                                                          PCEF
                          GPRS                                  GGSN
                           IP-CAN
                        Figure A.1: The GPRS IP CAN

....




                                                                            Page 28 of 66
        Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 29 of 66




       A.4     3GPP Accesses (GERAN/UTRAN/E-UTRAN) - GTP-based EPC

       A.4.0         General

       For 3GPP Access (GTP-based), architecture details are described in TS 23.401 [17]
       and in TS 23.060 [12].


                                                                     PCRF
                                                                           Gx

                UE             3GPP IP CAN                                PCEF
                                                                    PDN GW
                                GTP-based

                     Figure A.1: The 3GPP EPS IP CAN (GTP-based)

(3GPP TS 23.203 V11.11.0 (2013-09), at 44, 54–55, 57–58, 62, 77, 112, 122.)




                                                                                 Page 29 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 30 of 66




       52.       In addition, the applicable standards covered by the claims of the ’456 Patent,

including but not limited to 3GPP TS 23.207 V11.0.0 (2012-09), describe that the wireless terminal

is configured to check if a filter used for mapping data flows at the network node is determined by

a separate network element:

       Annex C (informative):

       Sample Mapping of SDP Descriptions Into QoS Authorization

       ....

       The session initiator includes an SDP in the SIP INVITE message that lists every
       codec that the originator is willing to support for this session. When the message
       arrives at the destination endpoint, it responds with the subset that it is also willing
       to support for the session by selectively accept or decline those media types in the
       original list. When multiple media codecs are listed, the caller and called party's
       media fields must be aligned—that is, there must be the same number, and they
       must be listed in the same order. QoS authorization is performed for this common
       subset. The P-CSCF(PDF) shall use the SDP contained in the SIP signalling to
       calculate the proper authorization. The authorization shall include limits on IP
       resources, and restrictions on IP packet flows, and may include restrictions on IP
       destinations. These restrictions are expressed as a data rate and QoS class for the
       combined set of IP flows, and a set of filter specs.

       The QoS authorization for a session shall include an Authorization-Token, which
       shall be assigned by the P-CSCF(PDF). The Authorization-Token shall contain
       information that identifies the P-CSCF(PDF) that generated the token. Each
       authorized session may include several flow authorizations. Each flow
       authorization may include an authorization for one or more flows. The
       authorization shall contain the following information:

             -   Filter Specs (IP flow 5-tuples that identify the set of flows)

             -   Data rate and QoS class that describes the authorized resource for the set of
                 flows

             -   The IP flow 5-tuples includes Source Address, Source Port, Destination
                 Address, Destination Port and Protocol ID. Note that some fields may be
                 wildcarded.

(3GPP TS 23.207 V11.0.0 (2012-09), at 29.)




                                                                                        Page 30 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 31 of 66




       53.       By way of example, Claim 7 of the ’456 Patent requires the limitation “wherein the

wireless terminal is configured to generate said configuration signal without filter information.”

       54.       The applicable standards covered by the claims of the ’456 Patent, including but

not limited to 3GPP TS 24.301 V11.5.0 (2012-12), describe that the wireless terminal is configured

to generate said configuration signal without filter information:

       8.3.8            Bearer resource allocation request

       8.3.8.1          Message definition

       This message is sent by the UE to the network to request the allocation of a
       dedicated bearer resource. See table 8.3.8.1.

       Message type:           BEARER RESOURCE ALLOCATION REQUEST

       Significance:           dual

       Direction:              UE to network

         Table 8.3.8.1: BEARER RESOURCE ALLOCATION REQUEST message
                                     content




       ....

       9.9.4            EPS Session Management (ESM) information elements

       ....




                                                                                     Page 31 of 66
        Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 32 of 66




       9.9.4.15        Traffic flow aggregate description

       The purpose of the Traffic flow aggregate description information element is to
       specify the aggregate of one of more packet filters and their related parameters and
       operations. The traffic flow aggregate description may contain the aggregate of
       packet filters for the downlink direction, the uplink direction or packet filters that
       apply for both directions. The packet filters determine the traffic mapping to EPS
       bearer contexts. The downlink packet filters shall be applied by the network, and
       the uplink packet filters shall be applied by the UE. A packet filter that applies for
       both directions shall be applied by the network as a downlink packet filter and by
       the UE as an uplink packet filter.

       When the traffic flow aggregate description is used in the UE requested bearer
       resource allocation procedure or the UE requested bearer resource modification
       procedure, it is associated to a particular procedure identified by a procedure
       transaction identity (PTI). Therefore, the UE shall release the traffic flow aggregate
       description when the UE requested bearer resource allocation procedure or the UE
       requested bearer resource modification procedure is completed. The UE shall not
       include the packet filters of a particular traffic flow aggregate description in any
       other traffic flow aggregate description when multiple UE requested bearer
       resource allocation procedures and/or UE requested bearer resource modification
       procedures are ongoing in parallel.

       The Traffic flow aggregate description information element is encoded using the
       same format as the Traffic flow template (TFT) information element (see subclause
       10.5.6.12 in 3GPP TS 24.008 [13]). When sending this IE in the BEARER
       RESOURCE ALLOCATION REQUEST message or the BEARER RESOURCE
       MODIFICATION REQUEST message, the UE shall set the packet filter identifier
       values to 0 if the packet filters are newly created; otherwise, the UE shall set the
       packet filter identifier values from those of already assigned packet filter identifiers
       of the existing EPS bearer, so that they are unique across all packet filters for the
       EPS bearer context indicated by the EPS bearer identity IE.

(3GPP TS 24.301 V11.5.0 (2012-12), at 246, 298, 310–11).




                                                                                        Page 32 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 33 of 66




       55.        In addition, the applicable standards covered by the claims of the ’456 Patent,

including but not limited to 3GPP TS 23.401 V11.4.0 (2012-12), describe that the wireless terminal

is configured to generate said configuration signal without filter information:

       3.2        Abbreviations

       ....

       TAD Traffic Aggregate Description

       ....

       5.4.5      UE requested bearer resource modification

       ....
         UE              eNodeB              MME               Serving GW               PDN GW                  PCRF

             1. Request Bearer Resource Modification
                                                 2. Bearer Resource Command

                                                                      3. Bearer Resource Command
                                                              (A)                               4. PCEF Initiated IP-CAN
                                                                                                Session Modification, begin

          5. Dedicated bearer activation as per Figure 5.4.1-1, from step 2 to 11; or
          Bearer modification procedure as per Figure 5.4.2.1-1, from step 2 to 11, or as per
          Figure 5.4.3-1, from step 2 to 9; or
          Dedicated bearer deactivation procedure as per Figure 5.4.4.1-1, from step 2 to 9.
                                                                                                6. PCEF Initiated IP-CAN
                                                                                                Session Modification, end




                     Figure 5.4.5-1: UE requested bearer resource modification

       ....




                                                                                                                    Page 33 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 34 of 66




       1.       ....

             The TAD indicates one requested operation (add, modify, or delete packet
             filters). If traffic flows are added, the TAD includes the packet filter(s)
             (consisting of the packet filter information including packet filter precedence,
             but without a packet filter identifier) to be added. The UE also sends the QCI
             requested and GBR, if applicable, for the added traffic flows. If the UE wants
             to link the new packet filter(s) to an existing packet filter to enable the usage of
             existing bearer resources for the new packet filter(s), the UE shall provide an
             existing packet filter identifier together with the new packet filter(s).

       ....

       5.       ....

             The PDN GW inserts, modifies or removes packet filter(s) corresponding to the
             TAD into the TFT for the EPS bearer. When a new packet filter is inserted into
             a TFT, the PDN GW assigns a new packet filter identifier which is unique
             within the TFT. The PDN GW maintains the relation between the SDF filter
             identifier in the PCC rule received from the PCRF and the packet filter identifier
             of the TFT of this EPS bearer. If all of the packet filter(s) for a dedicated EPS
             bearer have been removed from the TFT, the PDN GW performs the PDN GW
             Initiated Bearer Deactivation Procedure.

(3GPP TS 23.401 V11.4.0 (2012-12), at 14–15, 154–56.)

       56.      By way of example, Claim 7 of the ’456 Patent requires that the wireless terminal

be configured to generate said configuration signal without filter information “in response to the

filter associated to a packet data protocol context of the packet radio network and used for mapping

the data flows being determined in the separate network element and being sent to the network

node by the separate network element.”

       57.      The applicable standards covered by the claims of the ’456 Patent, including but

not limited to 3GPP TS 23.401 V11.4.0 (2012-12), describe that the wireless terminal is configured

to generate said configuration signal without filter information in response to the filter associated

to a packet data protocol context of the packet radio network and used for mapping the data flows




                                                                                          Page 34 of 66
        Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 35 of 66




being determined in the separate network element and being sent to the network node by the

separate network element:

       5.4.1        Dedicated bearer activation

       The dedicated bearer activation procedure for a GTP based S5/S8 is depicted in
       figure 5.4.1-1.

               UE             eNodeB             MME                Serving GW             PDN GW           PCRF


                                                                                                1. IP-CAN Session
                                                                           (A)
                                                                                                Modification

                                                                            2. Create Bearer Request



                                                        3. Create Bearer Request
                                   4. Bearer Setup Request/
                                   Session Management Request


                    5. RRC Connection Reconfiguration

                    6. RRC Connection Reconfiguration Complete

                                   7. Bearer Setup Response
                8. Direct Transfer
                                  9. Session Management Response
                                                        10. Create Bearer Response
                                                                          11. Create Bearer Response
                                                                                                12. IP-CAN Session
                                                                                                Modification
                                                                          (B)



                          Figure 5.4.1-1: Dedicated Bearer Activation Procedure

       ....

       1. If dynamic PCC is deployed, the PCRF sends a PCC decision provision (QoS
          policy) message to the PDN GW. This corresponds to the initial steps of the
          PCRF-Initiated IP CAN Session Modification procedure or to the PCRF
          response in the PCEF initiated IP-CAN Session Modification procedure as
          defined in TS 23.203 [6], up to the point that the PDN GW requests IP CAN
          Bearer Signalling. The PCC decision provision message may indicate that User
          Location Information and/or UE Time Zone Information is to be provided to
          the PCRF as defined in TS 23.203 [6]. If dynamic PCC is not deployed, the
          PDN GW may apply local QoS policy.




                                                                                                                     Page 35 of 66
 Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 36 of 66




2. The PDN GW uses this QoS policy to assign the EPS Bearer QoS, i.e., it assigns
   the values to the bearer level QoS parameters QCI, ARP, GBR and MBR; see
   clause 4.7.3. The PGW generates a Charging Id for the dedicated bearer. The
   PDN GW sends a Create Bearer Request message (IMSI, PTI, EPS Bearer QoS,
   TFT, S5/S8 TEID, Charging Id, LBI, Protocol Configuration Options) to the
   Serving GW, the Linked EPS Bearer Identity (LBI) is the EPS Bearer Identity
   of the default bearer.

....

5.4.5   UE requested bearer resource modification

....
 UE             eNodeB               MME               Serving GW               PDN GW                  PCRF

   1. Request Bearer Resource Modification
                                         2. Bearer Resource Command

                                                              3. Bearer Resource Command
                                                      (A)                               4. PCEF Initiated IP-CAN
                                                                                        Session Modification, begin

  5. Dedicated bearer activation as per Figure 5.4.1-1, from step 2 to 11; or
  Bearer modification procedure as per Figure 5.4.2.1-1, from step 2 to 11, or as per
  Figure 5.4.3-1, from step 2 to 9; or
  Dedicated bearer deactivation procedure as per Figure 5.4.4.1-1, from step 2 to 9.
                                                                                        6. PCEF Initiated IP-CAN
                                                                                        Session Modification, end




            Figure 5.4.5-1: UE requested bearer resource modification

....

4. The PDN GW may either apply a locally configured QoS policy, or it may
   interact with the PCRF to trigger the appropriate PCC decision, which may take
   into account subscription information. This corresponds to the beginning of a
   PCEF-initiated IP CAN Session Modification procedure as defined in TS
   23.203 [6], up to the point that the PDN GW requests IP CAN Bearer
   Signalling. When interacting with PCRF, the PDN GW provides to the PCRF
   the content of the TAD and, if applicable, the GBR change (increase or
   decrease) associated with the packet filter information contained in the TAD.
   The GBR change is either calculated from the current Bearer QoS and the
   requested Bearer QoS from the UE, or set to the requested GBR if the TAD
   indicates an add operation and no EPS Bearer Identity was received. If the TAD
   indicates an add operation, the requested QCI is also provided to the PCRF
   unless an existing packet filter identifier is provided together with the new
   packet filter.

....


                                                                                                            Page 36 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 37 of 66




       6. If the PDN GW interacted with the PCRF in step 4, the PDN GW indicates to
          the PCRF whether the PCC decision could be enforced or not. This corresponds
          to the completion of the PCEF-initiated IP CAN session modification procedure
          as defined in TS 23.203 [6] . . . .

(3GPP TS 23.401 V11.4.0 (2012-12), at 142–43, 154–56.)

       58.       In addition, the applicable standards covered by the claims of the ’456 Patent,

including but not limited to 3GPP TS 23.203 V11.11.0 (2013-09), describe that the wireless

terminal is configured to generate said configuration signal without filter information in response

to the filter associated to a packet data protocol context of the packet radio network and used for

mapping the data flows being determined in the separate network element and being sent to the

network node by the separate network element:

       6.2       Functional entities

       6.2.1 Policy Control and Charging Rules Function (PCRF)

       6.2.1.0          General

       The PCRF encompasses policy control decision and flow based charging control
       functionalities.

       The PCRF provides network control regarding the service data flow detection,
       gating, QoS and flow based charging (except credit management) towards the
       PCEF.

       ....

       The PCRF shall decide how certain service data flow/detected application traffic
       shall be treated in the PCEF and in the TDF, if applicable, and ensure that the PCEF
       user plane traffic mapping and treatment is in accordance with the user's
       subscription profile.

       ....




                                                                                    Page 37 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 38 of 66




       A.4       3GPP Accesses (GERAN/UTRAN/E-UTRAN) - GTP-based EPC

       A.4.0            General

       For 3GPP Access (GTP-based), architecture details are described in TS 23.401 [17]
       and in TS 23.060 [12].


                                                                         PCRF
                                                                               Gx

                   UE             3GPP IP CAN                                 PCEF
                                                                        PDN GW
                                   GTP-based

                        Figure A.1: The 3GPP EPS IP CAN (GTP-based)

       ....

       A.4.3.1.3        Binding mechanism

       ....

       For the 3GPP Access (GTP-based) the Bearer Binding is performed by the PCEF.
       For GERAN/UTRAN in UE-only mode the Bearer Binding mechanism is restricted
       by the UE provided binding between a SDF and a bearer for UE initiated resource
       requests.

       The bearer binding mechanism associates the PCC Rule with the EPS bearer to
       carry the service data flow. The association shall:

             -   cause the downlink part of the service data flow to be directed to the EPS
                 bearer in the association; and

             -   assume that the UE directs the uplink part of the service data flow to the
                 EPS bearer in the association.

(3GPP TS 23.203 V11.11.0 (2013-09), at 44, 122, 124–25.)

       59.       By way of example, Claim 7 of the ’456 Patent requires the limitation “wherein the

wireless terminal is configured to transmit, in a packet data protocol context activation request, a



                                                                                     Page 38 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 39 of 66




traffic flow template information element in response to the need to create a packet data protocol

context.”

       60.       The applicable standards covered by the claims of the ’456 Patent, including but

not limited to 3GPP TS 24.301 V11.5.0 (2012-12), describe that the wireless terminal is configured

to transmit, in a packet data protocol context activation request, a traffic flow template information

element in response to the need to create a packet data protocol context:

       3.2       Abbreviations

       ....

       EPS       Evolved Packet System

       ....

       6.5.3            UE requested bearer resource allocation procedure

       6.5.3.1          General

       The purpose of the UE requested bearer resource allocation procedure is for a UE
       to request an allocation of bearer resources for a traffic flow aggregate. The UE
       requests a specific QoS demand (QCI) and optionally sends a GBR requirement for
       a new traffic flow aggregate. If accepted by the network, this procedure invokes a
       dedicated EPS bearer context activation procedure (see subclause 6.4.2) or an EPS
       bearer context modification procedure (see subclause 6.4.3).

       ....

       6.5.3.2          UE requested bearer resource allocation procedure initiation

       In order to request the allocation of bearer resources for one traffic flow aggregate,
       the UE shall send a BEARER RESOURCE ALLOCATION REQUEST message
       to the MME, start timer T3480 and enter the state PROCEDURE TRANSACTION
       PENDING (see example in figure 6.5.3.2.1).

       The UE shall include the EPS bearer identity of the default EPS bearer associated
       with the requested bearer resource in the Linked EPS bearer identity IE. The UE
       shall set the TFT operation code in the Traffic flow aggregate IE to "Create new
       TFT". In the Required traffic flow QoS IE, the UE shall indicate a QCI and, if the
       UE also includes a GBR, the additional GBR required for the traffic flow aggregate.




                                                                                       Page 39 of 66
 Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 40 of 66




   UE                                                             Network

                       BEARER RESOURCE ALLOCATION REQUEST
  Start T3480
                        ACTIVATE DEDICATED EPS BEARER CONTEXT
  Stop T3480                           REQUEST

                                           OR
                        MODIFY EPS BEARER CONTEXT REQUEST
  Stop T3480
                                           OR

                        BEARER RESOURCE ALLOCATION REJECT
  Stop T3480

       Figure 6.5.3.2.1: UE requested bearer resource allocation procedure

....

8.3.8           Bearer resource allocation request

8.3.8.1         Message definition

This message is sent by the UE to the network to request the allocation of a
dedicated bearer resource. See table 8.3.8.1.

Message type:          BEARER RESOURCE ALLOCATION REQUEST

Significance:          dual

Direction:             UE to network




                                                                        Page 40 of 66
 Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 41 of 66




 Table 8.3.8.1: BEARER RESOURCE ALLOCATION REQUEST message
                             content




....

9.9.4          EPS Session Management (ESM) information elements

....

9.9.4.15       Traffic flow aggregate description

The purpose of the Traffic flow aggregate description information element is to
specify the aggregate of one of more packet filters and their related parameters and
operations. The traffic flow aggregate description may contain the aggregate of
packet filters for the downlink direction, the uplink direction or packet filters that
apply for both directions. The packet filters determine the traffic mapping to EPS
bearer contexts. The downlink packet filters shall be applied by the network, and
the uplink packet filters shall be applied by the UE. A packet filter that applies for
both directions shall be applied by the network as a downlink packet filter and by
the UE as an uplink packet filter.

....




                                                                               Page 41 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 42 of 66




       The Traffic flow aggregate description information element is encoded using the
       same format as the Traffic flow template (TFT) information element (see subclause
       10.5.6.12 in 3GPP TS 24.008 [13]). When sending this IE in the BEARER
       RESOURCE ALLOCATION REQUEST message or the BEARER RESOURCE
       MODIFICATION REQUEST message, the UE shall set the packet filter identifier
       values to 0 if the packet filters are newly created; otherwise, the UE shall set the
       packet filter identifier values from those of already assigned packet filter identifiers
       of the existing EPS bearer, so that they are unique across all packet filters for the
       EPS bearer context indicated by the EPS bearer identity IE.

(3GPP TS 24.301 V11.5.0 (2012-12), at 24, 189–90, 246, 298, 310–11).

       61.     Upon information and belief, the Tesla Standard-Compliant Products comply or

have complied with the applicable standards covered by the claims of the ’456 Patent, including

without limitation 3G and/or 4G/LTE, and therefore infringe the ’456 Patent, including at least

Claim 7.

       62.     The Tesla Standard Compliant Products have complied with 3GPP TS 24.301

V11.5.0 (2012-12).

       63.     The Tesla Standard Compliant Products have complied with 3GPP TS 24.008

V11.8.0 (2013-09).

       64.     The Tesla Standard Compliant Products have complied with 3GPP TS 23.060

V11.8.0 (2013-12).

       65.     The Tesla Standard Compliant Products have complied with 3GPP TS 36.300

V11.4.0 (2012-12).

       66.     The Tesla Standard Compliant Products have complied with 3GPP TS 23.401

V11.4.0 (2012-12).

       67.     The Tesla Standard Compliant Products have complied with 3GPP TS 23.203

V11.11.0 (2013-09).




                                                                                        Page 42 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 43 of 66




       68.     The Tesla Standard Compliant Products have complied with 3GPP TS 23.207

V11.0.0 (2012-09).

       69.     Tesla is infringing claims of the ’456 Patent, including at least Claim 7, literally

and/or pursuant to the doctrine of equivalents.

       70.     In violation of 35 U.S.C. § 271(b), Tesla is and has been infringing one or more of

the ’456 Patent’s claims, including at least Claim 7, indirectly by inducing the infringement of the

’456 Patent’s claims by third parties, including without limitation manufacturers, resellers, and/or

users of Tesla’s Standard-Compliant Products, in this District, and elsewhere in the United States.

Direct infringement is the result of activities performed by users of the Tesla Standard-Compliant

Products in accordance with the claims of the ’456 Patent.

       71.     Tesla’s affirmative acts of selling the Tesla’s Standard-Compliant Products,

causing the Tesla Standard-Compliant Products to be manufactured and distributed, providing

instructive materials and information concerning operation and use of the Tesla

Standard-Compliant Products, and maintenance/service for such products, induced users of the

Tesla Standard-Compliant Products to infringe the ’456 Patent’s claims by using the vehicles in

their normal and customary way. By and through these acts, Tesla knowingly and specifically

intends the users of the Tesla Standard-Compliant Products to infringe the ’456 Patent’s claims.

Tesla (1) knows and knew of the ’456 Patent since at least prior to the filing of this lawsuit,

(2) performs affirmative acts that constitute induced infringement, and (3) knows or should know

that those acts would induce actual infringement of one or more of the ’456 Patent’s claims by

users of the Tesla Standard-Compliant Products.

       72.     In violation of 35 U.S.C. § 271(c), Tesla is and has been infringing one or more of

the ’456 Patent’s claims, including at least Claim 7, indirectly by contributing to the infringement




                                                                                     Page 43 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 44 of 66




of the ’456 Patent’s claims by third parties, including without limitation manufacturers, resellers,

and/or users of the Tesla Standard-Compliant Products, in this District, and elsewhere in the United

States. Direct infringement is the result of activities performed by manufacturers, resellers, and/or

users in relation to the Tesla Standard-Compliant Products, including without limitation use of the

Tesla Standard-Compliant Products.

       73.     Upon information and belief, Tesla at least installs, configures, and sells Tesla

Standard-Compliant Products with distinct and separate hardware and/or software components

especially made or especially adapted to practice the invention claimed in the ’456 Patent. That

hardware and/or software is a material part of the invention. That hardware and/or software is not

a staple article or commodity of commerce because it is specifically designed to perform the

claimed functionality. Any other use of that hardware and/or software would be unusual, far-

fetched, illusory, impractical, occasional, aberrant, or experimental.

       74.     Therefore, upon information and belief, Tesla is making, using, offering to sell,

and/or selling in the United States, and/or importing into the United States, without authority, a

component of a patented machine, manufacture, combination or composition, or a material or an

apparatus for use in practicing a patented process, constituting a material part of the invention,

knowing the same to be especially made or especially adapted for use in infringement of a patent,

and not a staple article or commodity of commerce suitable for substantial noninfringing use.

       75.     As explained above, Tesla had actual notice of the ’456 Patent prior to this lawsuit

being filed and had knowledge of the infringing nature of its activities. Nevertheless, Tesla

continued its infringing activities.

       76.     Instead of taking a FRAND license to Conversant’s patent portfolio, Tesla

continues, in bad faith, to directly and indirectly infringe Conversant’s patents, including the




                                                                                      Page 44 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 45 of 66




’456 Patent by making, using, offering for sale and selling infringing Tesla Standard-Compliant

Products, and inducing and contributing to the infringement of others.

       77.     Therefore, upon information and belief, Tesla’s infringement of the ’456 Patent’s

claims, including at least Claim 7, has been and continues to be willful entitling Conversant to

increased damages pursuant to 35 U.S.C. § 284 and to attorneys’ fees and costs incurred in

prosecuting this action pursuant to 35 U.S.C. § 285.

       78.     Tesla’s acts of infringement have caused damages to Conversant, and Conversant

is entitled to recover from Tesla the damages sustained by Conversant as a result of Tesla’s

wrongful acts in an amount to be determined at trial.

                   COUNT 2—INFRINGEMENT OF THE ’697 PATENT

       79.     Conversant incorporates by reference the allegations set forth in Paragraphs 1–78

of this Complaint as though fully set forth herein.

       80.     In violation of 35 U.S.C. § 271(a), Tesla is and has been directly infringing one or

more of the ’697 Patent’s claims, including at least Claim 1, by making, using, offering to sell,

and/or selling in the United States, and/or importing into the United States, without authority,

products that support 3G and/or 4G/LTE connectivity, including without limitation the Tesla

Standard-Compliant Products as defined above. Each of the Tesla Standard-Compliant Products

comprises hardware and software components that together practice every element of one or more

claims of the ’697 Patent, including at least Claim 1. These components include those hardware

and software components that enable the set of wireless cellular communications functionalities

known as 3G and/or 4G/LTE and implement 3G and/or 4G/LTE in compliance with the

requirements of the technical standards applicable to mobile communications, including the

technical standards promulgated by 3GPP and various subsequent releases and versions thereof.




                                                                                    Page 45 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 46 of 66




These components enable the Tesla Standard-Compliant Products to perform 3G and/or 4G/LTE

communications functionality.

       81.     It is necessary to practice one or more of the claims of the ’697 Patent to comply

with the requirements of certain standards applicable to mobile communications. For example, it

is necessary to practice at least Claim 1 from the ’697 Patent to comply with certain 3G and/or

4G/LTE standards.

       82.     The Tesla Standard-Compliant Products comply with the applicable standards

covered by the claims of the ’697 Patent.

       83.     The Tesla Standard-Compliant Products are capable of performing, and when used

do in fact perform, the method of Claim 1 of the ’697 Patent.

       84.     The applicable standards covered by the claims of the ’697 Patent describe, at least,

performing the method of Claim 1 of the ’697 Patent.

       85.     By way of example, Claim 1 of the ’697 Patent requires a method including the

step of “transmitting , by a user equipment to a network access node , in a time and frequency

resource allocated for preamble transmission, and in one of a plurality of uplink component carriers

selected by the user equipment , a random access request.”

       86.     The applicable standards covered by the claims of the ’697 Patent, including but

not limited to 3GPP TS 36.300 V11.4.0 (2012-12), describe a method including the step of

transmitting , by a user equipment to a network access node , in a time and frequency resource




                                                                                     Page 46 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 47 of 66




allocated for preamble transmission, and in one of a plurality of uplink component carriers selected

by the user equipment , a random access request:

       7         RRC

       ....

       7.5       Carrier Aggregation

       When CA is configured, the UE only has one RRC connection with the network.
       At RRC connection establishment/re-establishment/handover, one serving cell
       provides the NAS mobility information (e.g. TAI), and at RRC connection re-
       establishment/handover, one serving cell provides the security input. This cell is
       referred to as the Primary Cell (PCell). In the downlink, the carrier corresponding
       to the PCell is the Downlink Primary Component Carrier (DL PCC) while in the
       uplink it is the Uplink Primary Component Carrier (UL PCC).

       Depending on UE capabilities, Secondary Cells (SCells) can be configured to form
       together with the PCell a set of serving cells. In the downlink, the carrier
       corresponding to an SCell is a Downlink Secondary Component Carrier (DL SCC)
       while in the uplink it is an Uplink Secondary Component Carrier (UL SCC).

       The configured set of serving cells for a UE therefore always consists of one PCell
       and one or more SCells:

             -   For each SCell the usage of uplink resources by the UE in addition to the
                 downlink ones is configurable (the number of DL SCCs configured is
                 therefore always larger than or equal to the number of UL SCCs and no
                 SCell can be configured for usage of uplink resources only);

             -   From a UE viewpoint, each uplink resource only belongs to one serving
                 cell;

             -   The number of serving cells that can be configured depends on the
                 aggregation capability of the UE (see subclause 5.5);

             -   PCell can only be changed with handover procedure (i.e. with security key
                 change and RACH procedure);

             -   PCell is used for transmission of PUCCH;

             -   Unlike SCells, PCell cannot be de-activated (see subclause 11.2);

             -   Re-establishment is triggered when PCell experiences RLF, not when
                 SCells experience RLF;

             -   NAS information is taken from PCell.


                                                                                     Page 47 of 66
 Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 48 of 66




....

10       Mobility

....

10.1.5 Random Access Procedure

The random access procedure is characterized by:

     -   Common procedure for FDD and TDD;

     -   One procedure irrespective of cell size and the number of serving cells when
         CA is configured;

The random access procedure is performed for the following events related to the
PCell:

     -   Initial access from RRC_IDLE;

     -   RRC Connection Re-establishment procedure;

     -   Handover;

     -   DL data arrival during RRC_CONNECTED requiring random access
         procedure;

     -   E.g. when UL synchronisation status is “non-synchronised”;

     -   UL data arrival during RRC_CONNECTED requiring random access
         procedure;

     -   E.g. when UL synchronisation status is "non-synchronised" or there are no
         PUCCH resources for SR available.

     -   For positioning purpose during RRC_CONNECTED requiring random
         access procedure;

     -   E.g. when timing advance is needed for UE positioning;

The random access procedure is also performed on a SCell to establish time
alignment for the corresponding sTAG.

....




                                                                              Page 48 of 66
 Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 49 of 66




10.1.5.2         Non-contention based random access procedure

The non-contention based random access procedure is outlined on Figure 10.1.5.2-
1 below:




         Figure 10.1.5.2-1: Non-contention based Random Access Procedure

The three steps of the non-contention based random access procedures are:

0)        Random Access Preamble assignment via dedicated signalling in DL:

     -    eNB assigns to UE a non-contention Random Access Preamble (a Random
          Access Preamble not within the set sent in broadcast signalling).

     -    Signalled via:

          -   HO command generated by target eNB and sent via source eNB for
              handover;

          -   PDCCH in case of DL data arrival or positioning;

          -   PDCCH for initial UL time alignment for a sTAG.

1)        Random Access Preamble on RACH in uplink:

     -    UE transmits the assigned non-contention Random Access Preamble.

2)        Random Access Response on DL-SCH:

     -    Semi-synchronous (within a flexible window of which the size is two or
          more TTIs) with message 1;

     -    No HARQ;

     -    Addressed to RA-RNTI on PDCCH;


                                                                            Page 49 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 50 of 66




             -   Conveys at least:

                 -   Timing Alignment information and initial UL grant for handover;

                 -   Timing Alignment information for DL data arrival;

                 -   RA-preamble identifier.

                 -   Intended for one or multiple UEs in one DL-SCH message.

       When performing non-contention based random access on the PCell while CA is
       configured, the Random Access Preamble assignment via PDCCH of step 0, step 1
       and 2 of the non-contention based random access procedure occur on the PCell. In
       order to establish timing advance for a sTAG, the eNB may initiate a non-
       contention based random access procedure with a PDCCH order (step 0) that is sent
       on a scheduling cell of activated SCell of the sTAG. Preamble transmission (step
       1) is on the indicated SCell and Random Access Response (step 2) takes place on
       PCell.

(3GPP TS 36.300 V11.4.0 (2012-12), at 56, 58–59, 61, 72, 74–75.)

       87.       In addition, the applicable standards covered by the claims of the ’697 Patent,

including but not limited to 3GPP TS 36.211 V11.2.0 (2013-02), describe a method including the

step of transmitting , by a user equipment to a network access node , in a time and frequency

resource allocated for preamble transmission, and in one of a plurality of uplink component carriers

selected by the user equipment , a random access request:

       5         Uplink

       ....




                                                                                     Page 50 of 66
        Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 51 of 66




       5.7    Physical random access channel

       5.7.1 Time and frequency structure

       The physical layer random access preamble, illustrated in Figure 5.7.1-1, consists
       of a cyclic prefix of length and a sequence part of length . The parameter values
       are listed in Table 5.7.1-1 and depend on the frame structure and the random access
       configuration. Higher layers control the preamble format.



                             TCP                     TSEQ



                      Figure 5.7.1-1: Random access preamble format.



                    Table 5.7.1-1: Random access preamble parameters.




       * Frame structure type 2 and special subframe configurations with UpPTS lengths
       4384 Ts and 5120 Ts only.

       The transmission of a random access preamble, if triggered by the MAC layer, is
       restricted to certain time and frequency resources. These resources are enumerated
       in increasing order of the subframe number within the radio frame and the physical
       resource blocks in the frequency domain such that index 0 correspond to the lowest
       numbered physical resource block and subframe within the radio frame. PRACH
       resources within the radio frame are indicated by a PRACH Resource Index, where
       the indexing is in the order of appearance in Table 5.7.1-2 and Table 5.7.1-4.

(3GPP TS 36.211 V11.2.0 (2013-02), at 12, 41.)

       88.    In addition, the applicable standards covered by the claims of the ’697 Patent,

including but not limited to 3GPP TS 36.213 V11.1.0 (2012-12), describe a method including the

step of transmitting , by a user equipment to a network access node , in a time and frequency




                                                                                   Page 51 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 52 of 66




resource allocated for preamble transmission, and in one of a plurality of uplink component carriers

selected by the user equipment , a random access request:

       6       Random access procedure

       ....

       6.1     Physical non-synchronized random access procedure

       From the physical layer perspective, the L1 random access procedure encompasses
       the transmission of random access preamble and random access response. The
       remaining messages are scheduled for transmission by the higher layer on the
       shared data channel and are not considered part of the L1 random access procedure.
       A random access channel occupies 6 resource blocks in a subframe or set of
       consecutive subframes reserved for random access preamble transmissions. The
       eNodeB is not prohibited from scheduling data in the resource blocks reserved for
       random access channel preamble transmission.

(3GPP TS 36.213 V11.1.0 (2012-12), at 23–24.)

       89.     In addition, the applicable standards covered by the claims of the ’697 Patent,

including but not limited to 3GPP TS 36.321 V11.1.0 (2012-12), describe a method including the

step of transmitting , by a user equipment to a network access node , in a time and frequency

resource allocated for preamble transmission, and in one of a plurality of uplink component carriers

selected by the user equipment , a random access request:

       3       Definitions and abbreviations

       3.1     Definitions

       ....

       RA-RNTI: The Random Access RNTI is used on the PDCCH when Random
       Access Response messages are transmitted. It unambiguously identifies which
       time-frequency resource was utilized by the UE to transmit the Random Access
       preamble.

       ....




                                                                                     Page 52 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 53 of 66




       5         MAC procedures

       5.1       Random Access procedure

       5.1.1     Random Access Procedure initialization

       The Random Access procedure described in this subclause is initiated by a PDCCH
       order or by the MAC sublayer itself. Random Access procedure on an SCell shall
       only be initiated by a PDCCH order. If a UE receives a PDCCH transmission
       consistent with a PDCCH order [5] masked with its C-RNTI, and for a specific
       Serving Cell, the UE shall initiate a Random Access procedure on this Serving Cell.
       For Random Access on the PCell a PDCCH order or RRC optionally indicate the
       ra-PreambleIndex and the ra-PRACH-MaskIndex; and for Random Access on an
       SCell, the PDCCH order indicates the ra-PreambleIndex with a value different from
       000000 and the ra-PRACH-MaskIndex. For the pTAG preamble transmission on
       PRACH and reception of a PDCCH order are only supported for PCell.

       ....

       5.1.3 Random Access Preamble transmission

       The random-access procedure shall be performed as follows:

             -   set          PREAMBLE_RECEIVED_TARGET_POWER           to
                 preambleInitialReceivedTargetPower + DELTA_PREAMBLE    +
                 (PREAMBLE_TRANSMISSION_COUNTER – 1) * powerRampingStep;

             -   instruct the physical layer to transmit a preamble using the selected
                 PRACH,       corresponding     RA-RNTI,     preamble    index    and
                 PREAMBLE_RECEIVED_TARGET_POWER.

(3GPP TS 36.321 V11.1.0 (2012-12), at 6–7, 13, 15.)

       90.       The method of Claim 1 of the ’697 Patent requires the step of “receiving a random

access response that is aggregated with other random access responses for other user equipments

in a time and frequency resource of a single downlink component carrier.”

       91.       The applicable standards covered by the claims of the ’697 Patent, including but

not limited to 3GPP TS 36.321 V11.1.0 (2012-12), describe the step of receiving a random access




                                                                                    Page 53 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 54 of 66




response that is aggregated with other random access responses for other user equipments in a time

and frequency resource of a single downlink component carrier:

       3       Definitions and abbreviations

       3.1     Definitions

       ....

       RA-RNTI: The Random Access RNTI is used on the PDCCH when Random
       Access Response messages are transmitted. It unambiguously identifies which
       time-frequency resource was utilized by the UE to transmit the Random Access
       preamble.

       ....

       5       MAC procedures

       5.1     Random Access procedure

       ....

       5.1.4   Random Access Response reception

       Once the Random Access Preamble is transmitted and regardless of the possible
       occurrence of a measurement gap, the UE shall monitor the PDCCH of the PCell
       for Random Access Response(s) identified by the RA-RNTI defined below, in the
       RA Response window which starts at the subframe that contains the end of the
       preamble transmission [7] plus three subframes and has length ra-
       ResponseWindowSize subframes. The RA-RNTI associated with the PRACH in
       which the Random Access Preamble is transmitted, is computed as:

                                  RA-RNTI= 1 + t_id+10*f_id

       Where t_id is the index of the first subframe of the specified PRACH (0≤ t_id <10),
       and f_id is the index of the specified PRACH within that subframe, in ascending
       order of frequency domain (0≤ f_id< 6). The UE may stop monitoring for Random
       Access Response(s) after successful reception of a Random Access Response
       containing Random Access Preamble identifiers that matches the transmitted
       Random Access Preamble.

       ....




                                                                                    Page 54 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 55 of 66




       6       Protocol Data Units, formats and parameters

       6.1     Protocol Data Units

       ....

       6.1.5 MAC PDU (Random Access Response)

       A MAC PDU consists of a MAC header and zero or more MAC Random Access
       Responses (MAC RAR) and optionally padding as described in figure 6.1.5-4.

       The MAC header is of variable size.

       A MAC PDU header consists of one or more MAC PDU subheaders; each
       subheader corresponding to a MAC RAR except for the Backoff Indicator
       subheader. If included, the Backoff Indicator subheader is only included once and
       is the first subheader included within the MAC PDU header.

       ....




       Figure 6.1.5-4: Example of MAC PDU consisting of a MAC header and MAC
                                       RARs

(3GPP TS 36.321 V11.1.0 (2012-12), at 6–7, 13, 15, 35, 43-44.)

       92.     In addition, the applicable standards covered by the claims of the ’697 Patent,

including but not limited to 3GPP TS 36.300 V11.4.0 (2012-12), describe the step of receiving a




                                                                                 Page 55 of 66
        Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 56 of 66




random access response that is aggregated with other random access responses for other user

equipments in a time and frequency resource of a single downlink component carrier:

       10      Mobility

       ....

       10.1    Intra E-UTRAN

       ....

       10.1.5 Random Access Procedure

       ....

       10.1.5.2       Non-contention based random access procedure

       The non-contention based random access procedure is outlined on Figure 10.1.5.2-
       1 below:




              Figure 10.1.5.2-1: Non-contention based Random Access Procedure




                                                                                 Page 56 of 66
        Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 57 of 66




       The three steps of the non-contention based random access procedures are:

       0)       Random Access Preamble assignment via dedicated signalling in DL:

            -   eNB assigns to UE a non-contention Random Access Preamble (a Random
                Access Preamble not within the set sent in broadcast signalling).

            -   Signalled via:

                -   HO command generated by target eNB and sent via source eNB for
                    handover;

                -   PDCCH in case of DL data arrival or positioning;

                -   PDCCH for initial UL time alignment for a sTAG.

       1)       Random Access Preamble on RACH in uplink:

            -   UE transmits the assigned non-contention Random Access Preamble.

       2)       Random Access Response on DL-SCH:

            -   Semi-synchronous (within a flexible window of which the size is two or
                more TTIs) with message 1;

            -   No HARQ;

            -   Addressed to RA-RNTI on PDCCH;

            -   Conveys at least:

                -   Timing Alignment information and initial UL grant for handover;

                -   Timing Alignment information for DL data arrival;

                -   RA-preamble identifier.

                -   Intended for one or multiple UEs in one DL-SCH message.

       When performing non-contention based random access on the PCell while CA is
       configured, the Random Access Preamble assignment via PDCCH of step 0, step 1
       and 2 of the non-contention based random access procedure occur on the PCell. In
       order to establish timing advance for a sTAG, the eNB may initiate a non-
       contention based random access procedure with a PDCCH order (step 0) that is sent
       on a scheduling cell of activated SCell of the sTAG. Preamble transmission (step
       1) is on the indicated SCell and Random Access Response (step 2) takes place on
       PCell.

(3GPP TS 36.300 V11.4.0 (2012-12), at 61–62, 72, 74–75.)


                                                                                   Page 57 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 58 of 66




       93.     In addition, the applicable standards covered by the claims of the ’697 Patent,

including but not limited to 3GPP TS 36.213 V11.1.0 (2012-12), describe the step of receiving a

random access response that is aggregated with other random access responses for other user

equipments in a time and frequency resource of a single downlink component carrier:

       6       Random access procedure

       ....

       6.1     Physical non-synchronized random access procedure

       From the physical layer perspective, the L1 random access procedure encompasses
       the transmission of random access preamble and random access response. The
       remaining messages are scheduled for transmission by the higher layer on the
       shared data channel and are not considered part of the L1 random access procedure.
       A random access channel occupies 6 resource blocks in a subframe or set of
       consecutive subframes reserved for random access preamble transmissions. The
       eNodeB is not prohibited from scheduling data in the resource blocks reserved for
       random access channel preamble transmission.

(3GPP TS 36.213 V11.1.0 (2012-12), at 23–24.)

       94.     The method of Claim 1 of the ’697 Patent requires the step of “wherein the

aggregated random access response comprises responses to a plurality of random access requests

from individual ones of a plurality of user equipments.”

       95.     The applicable standards covered by the claims of the ’697 Patent, including but

not limited to 3GPP TS 36.300 V11.4.0 (2012 12), describe the step of wherein the aggregated

random access response comprises responses to a plurality of random access requests from

individual ones of a plurality of user equipments:

       10      Mobility

       ....

       10.1    Intra E-UTRAN

       ....




                                                                                  Page 58 of 66
 Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 59 of 66




10.1.5 Random Access Procedure

....

10.1.5.2         Non-contention based random access procedure

The non-contention based random access procedure is outlined on Figure 10.1.5.2-
1 below:




         Figure 10.1.5.2-1: Non-contention based Random Access Procedure

The three steps of the non-contention based random access procedures are:

0)        Random Access Preamble assignment via dedicated signalling in DL:

     -    eNB assigns to UE a non-contention Random Access Preamble (a Random
          Access Preamble not within the set sent in broadcast signalling).

     -    Signalled via:

          -   HO command generated by target eNB and sent via source eNB for
              handover;

          -   PDCCH in case of DL data arrival or positioning;

          -   PDCCH for initial UL time alignment for a sTAG.

1)        Random Access Preamble on RACH in uplink:

     -    UE transmits the assigned non-contention Random Access Preamble.

2)        Random Access Response on DL-SCH:

     -    Semi-synchronous (within a flexible window of which the size is two or
          more TTIs) with message 1;



                                                                            Page 59 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 60 of 66




             -   No HARQ;

             -   Addressed to RA-RNTI on PDCCH;

             -   Conveys at least:

                 -   Timing Alignment information and initial UL grant for handover;

                 -   Timing Alignment information for DL data arrival;

                 -   RA-preamble identifier.

                 -   Intended for one or multiple UEs in one DL-SCH message.

       When performing non-contention based random access on the PCell while CA is
       configured, the Random Access Preamble assignment via PDCCH of step 0, step 1
       and 2 of the non-contention based random access procedure occur on the PCell. In
       order to establish timing advance for a sTAG, the eNB may initiate a non-
       contention based random access procedure with a PDCCH order (step 0) that is sent
       on a scheduling cell of activated SCell of the sTAG. Preamble transmission (step
       1) is on the indicated SCell and Random Access Response (step 2) takes place on
       PCell.

(3GPP TS 36.300 V11.4.0 (2012-12), at 61–62, 72, 74–75.)

       96.       In addition, the applicable standards covered by the claims of the ’697 Patent,

including but not limited to 3GPP TS 36.321 V11.1.0 (2012-12), describe the step of wherein the

aggregated random access response comprises responses to a plurality of random access requests

from individual ones of a plurality of user equipments:

       6         Protocol Data Units, formats and parameters

       6.1       Protocol Data Units

       ....

       6.1.5 MAC PDU (Random Access Response)

       A MAC PDU consists of a MAC header and zero or more MAC Random Access
       Responses (MAC RAR) and optionally padding as described in figure 6.1.5-4.

       The MAC header is of variable size.




                                                                                   Page 60 of 66
           Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 61 of 66




       A MAC PDU header consists of one or more MAC PDU subheaders; each
       subheader corresponding to a MAC RAR except for the Backoff Indicator
       subheader. If included, the Backoff Indicator subheader is only included once and
       is the first subheader included within the MAC PDU header.

       ....




       Figure 6.1.5-4: Example of MAC PDU consisting of a MAC header and MAC
                                       RARs

(3GPP TS 36.321 V11.1.0 (2012-12), at 35, 43-44.)

       97.     Upon information and belief, the Tesla Standard-Compliant Products comply or

have complied with the applicable standards covered by the claims of the ’697 Patent, including

without limitation 3G and/or 4G/LTE, and therefore infringe the ’697 Patent, including at least

Claim 1.

       98.     The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.300 V11.4.0 (2012-12).

       99.     The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.211 V11.2.0 (2013-02).

       100.    The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.321 V11.1.0 (2012-12).




                                                                                 Page 61 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 62 of 66




       101.    The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.213 V11.1.0 (2012-12).

       102.    Tesla is infringing claims of the ’697 Patent, including at least Claim 1, literally

and/or pursuant to the doctrine of equivalents.

       103.    In violation of 35 U.S.C. § 271(b), Tesla is and has been infringing one or more of

the ’697 Patent’s claims, including at least Claim 1, indirectly by inducing the infringement of the

’697 Patent’s claims by third parties, including without limitation manufacturers, resellers, and/or

users of Tesla’s Standard-Compliant Products, in this District, and elsewhere in the United States.

Direct infringement is the result of activities performed by users of the Tesla Standard-Compliant

Products in accordance with the claims of the ’697 Patent.

       104.    Tesla’s affirmative acts of selling the Tesla’s Standard-Compliant Products,

causing the Tesla Standard-Compliant Products to be manufactured and distributed, providing

instructive materials and information concerning operation and use of the Tesla

Standard-Compliant Products, and maintenance/service for such products, induced users of the

Tesla Standard-Compliant Products to infringe the ’697 Patent’s claims by using the vehicles in

their normal and customary way. By and through these acts, Tesla knowingly and specifically

intends the users of the Tesla Standard-Compliant Products to infringe the ’697 Patent’s claims.

Tesla (1) knows and knew of the ’697 Patent since at least prior to the filing of this lawsuit,

(2) performs affirmative acts that constitute induced infringement, and (3) knows or should know

that those acts would induce actual infringement of one or more of the ’697 Patent’s claims by

users of the Tesla Standard-Compliant Products.

       105.    In violation of 35 U.S.C. § 271(c), Tesla is and has been infringing one or more of

the ’697 Patent’s claims, including at least Claim 1, indirectly by contributing to the infringement




                                                                                     Page 62 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 63 of 66




of the ’697 Patent’s claims by third parties, including without limitation manufacturers, resellers,

and/or users of the Tesla Standard-Compliant Products, in this District, and elsewhere in the United

States. Direct infringement is the result of activities performed by manufacturers, resellers, and/or

users in relation to the Tesla Standard-Compliant Products, including without limitation use of the

Tesla Standard-Compliant Products.

       106.    Upon information and belief, Tesla at least installs, configures, and sells Tesla

Standard-Compliant Products with distinct and separate hardware and/or software components

especially made or especially adapted to practice the invention claimed in the ’697 Patent. That

hardware and/or software is a material part of the invention. That hardware and/or software is not

a staple article or commodity of commerce because it is specifically designed to perform the

claimed functionality. Any other use of that hardware and/or software would be unusual, far-

fetched, illusory, impractical, occasional, aberrant, or experimental.

       107.    Therefore, upon information and belief, Tesla is making, using, offering to sell,

and/or selling in the United States, and/or importing into the United States, without authority, a

component of a patented machine, manufacture, combination or composition, or a material or an

apparatus for use in practicing a patented process, constituting a material part of the invention,

knowing the same to be especially made or especially adapted for use in infringement of a patent,

and not a staple article or commodity of commerce suitable for substantial noninfringing use.

       108.    As explained above, Tesla had actual notice of the ’697 Patent prior to this lawsuit

being filed and had knowledge of the infringing nature of its activities. Nevertheless, Tesla

continued its infringing activities.

       109.    Instead of taking a FRAND license to Conversant’s patent portfolio, Tesla

continues, in bad faith, to directly and indirectly infringe Conversant’s patents, including the




                                                                                      Page 63 of 66
         Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 64 of 66




’697 Patent by making, using, offering for sale and selling infringing Tesla Standard-Compliant

Products, and inducing and contributing to the infringement of others.

        110.    Therefore, upon information and belief, Tesla’s infringement of the ’697 Patent’s

claims, including at least Claim 1, has been and continues to be willful entitling Conversant to

increased damages pursuant to 35 U.S.C. § 284 and to attorneys’ fees and costs incurred in

prosecuting this action pursuant to 35 U.S.C. § 285.

        111.    Tesla’s acts of infringement have caused damages to Conversant, and Conversant

is entitled to recover from Tesla the damages sustained by Conversant as a result of Tesla’s

wrongful acts in an amount to be determined at trial.

                                          DAMAGES

        112.    Tesla’s acts of infringement are and were committed intentionally, knowingly, and

with callous disregard of Conversant’s legitimate rights. Conversant is therefore entitled to and

now seeks to recover exemplary damages in an amount not less than the maximum amount

permitted by law.

        113.    As a result of Tesla’s acts of infringement, Conversant has suffered actual and

consequential damages. To the fullest extent permitted by law, Conversant seeks recovery of

damages in an amount to compensate for Tesla’s infringement. Conversant further seeks any other

damages to which Conversant would be entitled to in law or in equity.

                                       ATTORNEYS’ FEES

        114.    Conversant is entitled to recover reasonable and necessary attorneys’ fees under

applicable law.

                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Conversant demands a trial

by jury on all issues so triable.


                                                                                   Page 64 of 66
            Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 65 of 66




                                     PRAYER FOR RELIEF

       Conversant respectfully requests that the Court enter preliminary and final orders,

declarations, and judgments against Tesla as are necessary to provide Conversant with the

following relief:

       a.       A judgment that Tesla has infringed and/or is infringing one or more claims of the

                ’456 Patent, literally or under the doctrine of equivalents, and directly or indirectly;

       b.       A judgment that Tesla’s infringement of the ’456 Patent has been willful;

       c.       A judgment that Tesla has infringed and/or is infringing one or more claims of the

                ’697 Patent, literally or under the doctrine of equivalents, and directly or indirectly;

       d.       A judgment that Tesla’s infringement of the ’697 Patent has been willful;

       e.       An award for all damages arising out of Tesla’s infringement, together with

                prejudgment and post-judgment interest, jointly and severally, in an amount

                according to proof, including without limitation attorneys’ fees and litigation costs

                and expenses;

       f.       Any future compensation due to Conversant for Tesla’s infringement (past, present

                or future) not specifically accounted for in a damages award (or other relief), and/or

                permanent injunctive relief;

       g.       An award of reasonable attorneys’ fees as provided by 35 U.S.C. § 285 and

                enhanced damages as provided by 35 U.S.C. § 284; and

       h.       All further relief in law or in equity as the Court may deem just and proper.




                                                                                         Page 65 of 66
       Case 6:20-cv-00323-ADA Document 1 Filed 04/24/20 Page 66 of 66




Dated: April 24, 2020                 Respectfully submitted,

                                      /s/ Jamie H. McDole
                                      Jamie H. McDole
                                      State Bar No. 24082049
                                      Michael D. Karson
                                      State Bar No. 24090198
                                      Nadia E. Haghighatian
                                      State Bar No. 24087652
                                      THOMPSON & KNIGHT LLP
                                      One Arts Plaza
                                      1722 Routh St., Suite 1500
                                      Dallas, Texas 75201
                                      Tel.: 214.969.1700
                                      Fax: 214.969.1751
                                      Email: jamie.mcdole@tklaw.com
                                              michael.karson@tklaw.com
                                              nadia.haghighatian@tklaw.com

                                      Attorneys for Plaintiff
                                      Conversant Wireless Licensing S.A.R.L.




                                                                      Page 66 of 66
